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AUG 24 2005

Western District of Tennessee

United States of America

VS

V\-I\-/d/

James Ross ) Case No. 05-20194-01 ":E

CONSENT TO MODIFY CONDITIONS OF RELEASE

l James Rcss, have discussed with Stephanie K. Denton, Pretrial Services Officer,
modification of my release condition as follows:

l) Maintain or actively seek employment

2) Refrain from possessing a firearm, destructive device, or any other dangerous weapon
3) Refrain from the unlawful use or possession of a narcotic drug or other controlled
substances

4) Submit to substance abuse testing as directed by Pretrial Services

5) Participate in substance abuse treatment if deemed advisable by Pretrial Services

l consent to this modification of my release conditions and agree to abide by this modification

 

 

gignature of Det`endant Datc Pr tria Scrvices Ofticer Date

l have eviewed the conditions with my client and concur that this modification is appropriate

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gnalure ol Dcferlse founsc| Date

 

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Me above modification of conditions of release is ordered, to be effective on gi 1 0 l O~.-S

[ ] The above modiHcation of conditions of release is n_ot ordered

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Signaturc of.ludicia| Of`t`icer l')ate

Th`\s document entered on the docket sheet in compiiance § §

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UNITED sTATE DISTRIC COUR - WESTERN D's'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l8 in
case 2:05-CR-20194 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

